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AO 245B (Rev. 06/05) Judgment in a Criminal Case: Sheet 1          (455130)



                             United States District Court
                              SOUTHERN DISTRICT OF ALABAMA

        UNITED STATES OF AMERICA                            JUDGMENT IN A CRIMINAL CASE
                  V.
        AMANDA K. MCCLAIN                                   CASE NUMBER: 1:14-CR-00157-004
                                                            USM NUMBER: 13972-003

                                                             Arthur T. Powell, III, Esquire
                                                            Defendant's Attorney
THE DEFENDANT:
X       pleaded guilty to count 3 of the Indictment on 8/18/2014.
        pleaded nolo contendere to count(s)        which was accepted by the court.
        was found guilty on count(s)        after a plea of not guilty.
The defendant is adjudicated guilty of the following offenses:

                                                                          Date Offense              Count
Title & Section           Nature of Offense                               Concluded                 Nos.
18 USC § 1708             Possession of stolen mail.                      05/09/2014                3

       The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.

        The defendant has been found not guilty on count(s)                .
        Count(s)      is/are dismissed on the motion of the United States.

        IT IS ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs, and
special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the defendant
shall notify the court and the United States attorney of any material change in the defendant's economic
circumstances.
                                                                   November 19, 2014
                                                                   Date of Imposition of Judgment

                                                                   /s/ Callie V. S. Granade
                                                                   UNITED STATES DISTRICT JUDGE

                                                                   November 20, 2014
                                                                   Date
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                                                                                                                     Judgment 2

AO 245B (Rev. 06/05) Judgment in a Criminal Case: Sheet 4 - Probation
Defendant: AMANDA K. MCCLAIN
Case Number: 1:14-CR-00157-004
                                                    PROBATION
The defendant is hereby placed on probation for a term of FIVE (5) years.

SPECIAL CONDITIONS: See attachment

For offenses committed on or after September 13, 1994:
        The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test
        within 15 days of placement on probation and at least two periodic drug tests thereafter, as directed by the probation
        officer.
                 The above drug testing condition is suspended based on the court’s determination that the defendant poses a low
                 risk of future substance abuse. (Check, if applicable)

         The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
         or is a student, as directed by the probation officer. (Check, if applicable)

         The defendant shall participate in an approved program for domestic violence. (Check, if applicable)

X        The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable)

If this judgment imposes a fine or a restitution obligation, it shall be a condition of probation that the defendant pay any such fine
or restitution in accordance with the Schedule of Payments set forth in the Criminal Monetary Penalties sheet of this judgment.

The defendant shall not commit another federal, state or local crime.
The defendant shall not illegally possess a controlled substance.
The defendant shall comply with the standard conditions that have been adopted by this court (as set forth below).
The defendant shall also comply with the additional conditions on the attached page (if applicable).

                           STANDARD CONDITIONS OF SUPERVISION
1) the defendant shall not leave the judicial district without the permission of the court or probation officer;
2) the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the prob. officer;
4) the defendant shall support his or her dependents and meet other family responsibilities;
5) the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training,or other
         acceptable reasons;
6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
         controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9) the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person
         convicted of a felony unless granted permission to do so by the probation officer;
10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation
         of any contraband observed in plain view of the probation officer;
11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
         officer;
12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without
         the permission of the court;
13) as directed by the prob. officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
         criminal record or personal history or characteristics, and shall permit the probation officer to make such notifications and
         to confirm the defendant's compliance with such notification requirement.
14) the defendant shall cooperate, as directed by the probation officer, in the collection of DNA, if applicable, under the provisions
         of 18 U.S.C. §§ 3563(a)(9) and 3583(d) for those defendants convicted of qualifying offenses.
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                                                                                                         Judgment 3
AO 245B (Rev. 06/05) Judgment in a Criminal Case: Sheet 5, Part A - Criminal Monetary Penalties

Defendant: AMANDA K. MCCLAIN
Case Number: 1:14-CR-00157-004

                          CRIMINAL MONETARY PENALTIES
       The defendant shall pay the following total criminal monetary penalties in accordance with the schedule
of payments set forth on Sheet 5, Part B.

                              Assessment                     Fine                          Restitution
        Totals:               $100.00                        $                             $


        The determination of restitution is deferred until           . An Amended Judgment in a Criminal Case
        (AO 245C) will be entered after such a determination.

        The defendant shall make restitution (including community restitution) to the following payees in the
        amounts listed below.


If the defendant makes a partial payment, each payee shall receive an approximately proportional payment unless
specified otherwise in the priority order or percentage payment column below. (or see attached)
However, pursuant to 18 U.S.C. § 3644(i), all nonfederal victims must be paid in full prior to the United States
receiving payment.

Name(s) and                   *Total                         Amount of                     Priority Order or
Address(es) of Payee(s)       Amount of Loss                 Restitution Ordered           % of Payment




TOTALS:                       $                              $


        If applicable, restitution amount ordered pursuant to plea agreement. $
        The defendant shall pay interest on any fine or restitution of more than $2,500, unless the fine or
        restitution is paid in full before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. §
        3612(f). All of the payment options on Sheet 5, Part B may be subject to penalties for default, pursuant to
        18 U.S.C. § 3612(g).

        The court determined that the defendant does not have the ability to pay interest and it is ordered that:
        The interest requirement is waived for the      fine and/or       restitution.
        The interest requirement for the    fine and/or      restitution is modified as follows:

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title
18, United States Code, for offenses committed on or after September 13, 1994 but before April 23, 1996.
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                                                                                                                Judgment 4
AO 245B (Rev. 06/05) Judgment in a Criminal Case: Sheet 5, Part B - Schedule of Payments
Defendant: AMANDA K. MCCLAIN
Case Number: 1:14-CR-00157-004

                                    SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be
due as follows:
A       X Lump sum payment of the $100.00 special assessment is due immediately, balance due
        not later than _, and in accordance with C,            D, E or X F below; or
B           Payment to begin immediately (may be combined with C, D, E or F below); or
C          Payment in          (e.g., equal, weekly, monthly, quarterly) installments of $        over a
        period of        (e.g., months or years), to commence           (e.g., 30 or 60 days) after the date
        of this judgment; or
D           Payment in          (e.g., equal, weekly, monthly, quarterly) installments of $        over a
        period of        (e.g., months or years), to commence           (e.g., 30 or 60 days) after release
        from imprisonment to a term of supervision; or
E           Payment during the term of supervised release will commence within            (e.g., 30 or 60
        days) after release from imprisonment. The court will set the payment plan based on an
        assessment of the defendant's ability to ay at that time; or
F           Special instructions regarding the payment of criminal monetary penalties:



Unless the court has expressly ordered otherwise in the special instructions above, if this judgment
imposes a period of imprisonment payment of criminal monetary penalties shall be due during the
period of imprisonment. All criminal monetary penalty payments, except those payments made through
the Federal Bureau of Prisons' Inmate Financial Responsibility Program, are to be made to the clerk of
court, unless otherwise directed by the court, the probation officer, or the United States attorney.

The defendant will receive credit for all payments previously made toward any criminal monetary penalties
imposed.

        Joint and Several:
        The defendant shall pay the cost of prosecution.
        The defendant shall pay the following court cost(s):
        The defendant shall forfeit the defendant's interest in the following property to the United States:


Payments shall be applied in the following order: (1) assessment; (2) restitution principal; (3) restitution interest, (4)
fine principal; (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution
and court costs.
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                                                                                                 Judgment 5
AO 245B (Rev. 06/05) Judgment in a Criminal Case: Sheet 4 Continued - Probation
Defendant: AMANDA K. MCCLAIN
Case Number: 1:14-CR-00157-004

                       SPECIAL CONDITIONS OF PROBATION
1) The defendant shall submit to periodic urine surveillance and/or breath, saliva, and skin tests
for the detection of drug abuse as directed by the Probation Office. Defendant may incur costs
associated with such detection efforts based upon ability to pay as determined by the Probation
Office.

2) The defendant shall participate in an assessment or program, inpatient or outpatient, for the
treatment of drug and/or alcohol addiction, dependency, or abuse as instructed and as deemed
necessary by the Probation Office. Defendant may incur costs associated with such drug/alcohol
detection and treatment based upon ability to pay as determined by the Probation Office.
